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 1   JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
 2   MATTHEW M. SCOBLE, Bar #237432
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     ALEKSANDR LASTOVSKIY
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT

 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,       )     Case No. 2:12-cr-00322-MCE
                                     )
12                  Plaintiff,       )
                                     )            STIPULATION AND ORDER;
13        v.                         )         CONTINUING STATUS CONFERENCE
                                     )             AND EXCLUDING TIME
14   ALEKSANDR LASTOVSKIY, et al.,   )
                                     )     Date: May 2, 2013
15                  Defendant.       )     Time: 9:00 a.m.
     _______________________________ )     Judge: Hon. Morrison C. England Jr.
16
17        IT IS HEREBY STIPULATED by and between the parties hereto through
18   their respective counsel, TODD LERAS, Assistant United States Attorney,
19   attorney for Plaintiff, and MATTHEW SCOBLE, attorney for ALEKSANDR
20   LASTOVSKIY, BRUCE LOCKE, attorney for TATYANA SHVETS, SCOTT TEDMON,
21   attorney for ALEKSANDR MIKHAYLOV and RICHARD NAHIGIAN, attorney for
22   HOVIK MKRTCHIAN, that the status conference hearing date of February
23   21, 2013 be vacated, and the matter be set for status conference on May
24   2, 2013 at 9:00 a.m.
25        The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendant, to examine
27   possible defenses and to continue investigating the facts of the case.
28        Based upon the foregoing, the parties agree that the time under
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 1   the Speedy Trial Act should be excluded from the date of signing of
 2   this order through and including May 2, 2013 pursuant to 18 U.S.C.
 3   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local Code
 4   T4 based upon continuity of counsel and defense preparation.
 5
     DATED:    February 19, 2013.                    Respectfully submitted,
 6
                                                     JOSEPH SCHLESINGER
 7                                                   Acting Federal Public Defender
 8
 9                                                   /s/ Matthew Scoble
                                                     MATTHEW SCOBLE
10                                                   Designated Counsel for Service
                                                     Attorney for ALEKSANDR LASTOVSKIY
11
                                                     /s/ Matthew M. Scoble for
12                                                   BRUCE LOCKE
                                                     Attorney for TATYANA SHVETS
13
                                                     /s/ Matthew M. Scoble for
14                                                   SCOTT TEDMON
                                                     Attorney for ALEKSANDR MIKHAYLOV
15
                                                     /s/ Matthew M. Scoble for
16                                                   RICHARD NAHIGIAN
                                                     Attorney for HOVIK MKRTCHIAN
17
18   DATED:    February 19, 2013.                    BENJAMIN WAGNER
                                                     United States Attorney
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                                                     /s/ Matthew Scoble for
21                                                   TODD LERAS
                                                     Assistant U.S. Attorney
22                                                   Attorney for Plaintiff
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 1                                           ORDER
 2        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
 3   ordered that the February 21, 2013, status conference hearing be
 4   continued to May 2, 2013, at 9:00 a.m.          Based on the representation of
 5   defense counsel and good cause appearing there from, the Court hereby
 6   finds that the failure to grant a continuance in this case would deny
 7   defense counsel reasonable time necessary for effective preparation,
 8   taking into account the exercise of due diligence.           The Court finds
 9   that the ends of justice to be served by granting a continuance
10   outweigh the best interests of the public and the defendant in a speedy
11   trial.   It is ordered that time up to and including the May 2, 2013,
12   status conference shall be excluded from computation of time within
13   which the trial of this matter must be commenced under the Speedy Trial
14   Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code
15   T-4, to allow defense counsel reasonable time to prepare.
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17
18   Dated: February 21, 2013
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23                                           _____________________________________________
                                             MORRISON C. ENGLAND, JR., CHIEF JUDGE
24                                           UNITED STATES DISTRICT JUDGE

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